 Case 6:11-cv-01098-JTM Document 258 Filed 06/06/16 Page 1 of 13




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1                   IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF KANSAS
2

3 THE UNITED STATES OF AMERICA,

4                   Plaintiff,

5             vs.                         District Court
                                          Case Number
6 ANGEL DILLARD,                          11-CV-1098-JTM
                                          Volume 4
7                   Defendant.

8

9                   TRANSCRIPT OF PROCEEDINGS

10            On the 6th day of May, 2016 at 1:40 p.m. came
     on to be heard in the JURY TRIAL in the above-entitled
11   and numbered cause before the
     HONORABLE J. THOMAS MARTEN, Judge of the United States
12   District Court for the District of Kansas, Sitting in
     Wichita.
13            Proceedings recorded by mechanical
     stenography.
14            Transcript produced by computer.

15
     APPEARANCES
16
              The Plaintiff appeared by and through:
17               Mr. Richard C. Goemann
                 US Department of Justice
18               Civil Rights Division
                 950 Pennsylvania Ave, NW
19               SPL 601 D Street
                 Washington, DC, 20530
20
              The Defendant, Angel Dillard, appeared in
21 person, by and through:
                   Mr. Craig Shultz
22                 Shultz Law Office
                   455 N. Waco
23                 Wichita, KS 67202

24                  Ms. Theresa Sidebotham
                    Telios Law, PLLC
25                  1840 Deer Creek Rd., Suite 101
                    Monument, CO 80132
              Jana L. McKinney, CSR, RPR, CRR, RMR
                   United States Court Reporter
 Case 6:11-cv-01098-JTM Document 258 Filed 06/06/16 Page 2 of 13




                                                                   712
1                             INDEX

2
     Verdict                                                       713
3 Polling of the Jury                                              717
     Reporter's Certificate                                        723
4

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               Jana L. McKinney, CSR, RPR, CRR, RMR
                    United States Court Reporter
 Case 6:11-cv-01098-JTM Document 258 Filed 06/06/16 Page 3 of 13




                                                                   713
1            (Proceedings commenced at 1:40 p.m.)

2            (The jury enters the courtroom.)

3             THE COURT:    Good afternoon, folks.      Good

4 afternoon.

5             Good afternoon.

6            Go ahead and take your seats.

7             All right.    Mr. Cox, you are the presiding

8 juror?

9             JUROR 4:    That is correct, Your Honor.

10            THE COURT:    My understanding is that the jury

11 has reached a verdict in this case, is that correct?

12            JUROR 4:    That is correct.

13            THE COURT:    And have you filled out, signed,

14 and dated the verdict form?

15            JUROR 4:    Yes, Your Honor.

16            THE COURT:    All right.    If you would please

17 hand the verdict form to Mr. Wood.

18            Thank you.

19           All right.    Thank you so much.

20           Mr. Wood, if you would read the verdict.

21            MR. WOOD:    We, the jury, impaneled and sworn

22 in the above entitled cause, upon our oaths, do make

23 the following answers to the questions propounded by

24 the Court:

25           1.   Under all the circumstances of the case,

              Jana L. McKinney, CSR, RPR, CRR, RMR
                   United States Court Reporter
 Case 6:11-cv-01098-JTM Document 258 Filed 06/06/16 Page 4 of 13




                                                                   714
1 would a reasonable recipient of defendant's January

2 15th, 2011 letter believe that it conveys a true threat

3 of force?

4            Answer:    Yes.

5             2.   Did the defendant, in sending the letter,

6 intentionally seek to intimidate Dr. Means?

7            Answer:    No.

8             Signed and dated.

9             THE COURT:      Well, members of the jury, you've

10 deliberated for a good, long time in this case and I

11 know from that that you carefully considered every bit

12 of evidence and every issue that was raised in the

13 case.    And thank you so very much.      Everybody is in

14 your debt for your service here over the past several

15 days.

16            In just a moment, I'm going to excuse you to

17 go to the jury room.        We have certificates for you

18 there.    I always like to visit with jurors for a few

19 minutes before you head out of the courthouse, but the

20 other thing that I'm going to talk to you about, and I

21 hope you'll consider it, we have a rule that I need to

22 read to you here in our district, and I am going to

23 read it to you now, and it has to do with communication

24 with jurors after the trial.

25           And this generally relates to the parties to

              Jana L. McKinney, CSR, RPR, CRR, RMR
                   United States Court Reporter
 Case 6:11-cv-01098-JTM Document 258 Filed 06/06/16 Page 5 of 13




                                                                   715
1 the suit, their lawyers, and the press.          It can be more

2 broadly construed than that but this is the rule.

3              No one, including the parties, their

4 attorneys, or the agents or employees of either is

5 permitted to examine or interview any juror, either

6 orally or in writing, except:

7             1.    By order of the Court in its discretion;

8 and,

9             2.    Under such terms and conditions as the

10 Court establishes.      If the Court permits examination or

11 interviews of jurors, the following restrictions apply,

12 in addition to any other restrictions the Court

13 imposes.

14             1.   Jurors may refuse all interviews or

15 comments.

16             2.   If a juror refuses to be interviewed or

17 questioned, no person may repeatedly ask for interviews

18 or comments.

19             3.   If a juror agrees to an interview, he or

20 she must not disclose any information with respect to

21 the specific vote of any juror other than the juror

22 being interviewed or, about the deliberations of the

23 jury.

24             Now, let's start with the first one, about no

25 one being permitted to examine or interview you except


              Jana L. McKinney, CSR, RPR, CRR, RMR
                   United States Court Reporter
 Case 6:11-cv-01098-JTM Document 258 Filed 06/06/16 Page 6 of 13




                                                                   716
1 by order of the Court in its discretion and on such

2 terms and conditions.

3            Nothing was ever more helpful to me as a

4 lawyer than having an opportunity to visit with jurors

5 immediately after a case, when everything's still

6 fresh.     And I think if you are willing to do it, and

7 it's your decision alone, but I think if you're willing

8 to do it, the lawyers would love to have an opportunity

9 to visit with you, not to be critical of anything that

10 you did in the case, and not to dissect it but

11 basically to find out what you found persuasive, what

12 you didn't find persuasive.

13           If there were aspects of their case that you

14 thought were particularly strong or particularly weak,

15 they'd like to hear about those.        And, frankly, if

16 there is anything that either of them did or that any

17 of them did that you found offensive or troublesome,

18 they would like to hear about those, too, so they can

19 avoid those next time out.

20            But I think probably what they're most

21 interested in is what you found persuasive in the case

22 and why it was persuasive to you.

23            Now, going to the restrictions, obviously, it

24 was a unanimous verdict so everybody knows what each of

25 your votes was in the case.


              Jana L. McKinney, CSR, RPR, CRR, RMR
                   United States Court Reporter
 Case 6:11-cv-01098-JTM Document 258 Filed 06/06/16 Page 7 of 13




                                                                   717
1             And, by the way, does either party wish to

2 have the jurors pooled in this case?

3             Mr. Goemann?

4             MR. GOEMANN:    Your Honor, yes, I would like to

5 have them polled.       Thank you.

6             THE COURT:     All right.    What I am going to do

7 now then, is to ask each of you individually if this is

8 your verdict or if it is not your verdict.

9             If it is your verdict, just say, This is my

10 verdict.    If it's not, say, This is not my verdict.

11            And, Mr. Lansdowne, we'll start with you.            Is

12 this your verdict?

13            JUROR 2:    This is my verdict.

14            THE COURT:     Mr. Hamblin.

15            JUROR 3:    This is my verdict.

16            THE COURT:     Mr. Cox.

17            JUROR 9:    This is my verdict.

18            THE COURT:     Ms. Bird.

19            JUROR 8:    This is my verdict.

20            THE COURT:     Mr. Fisher.

21            JUROR 17:    This is my verdict.

22            THE COURT:     Ms. Maxwell.

23            JUROR 15:    This is my verdict.

24            THE COURT:     Ms. Tatrow.

25            JUROR 13:    This is my verdict.

              Jana L. McKinney, CSR, RPR, CRR, RMR
                   United States Court Reporter
 Case 6:11-cv-01098-JTM Document 258 Filed 06/06/16 Page 8 of 13




                                                                   718
1             THE COURT:    And, Mr. Sizemore?

2            JUROR 14:     This is my verdict.

3             MR. GOEMANN:    Thank you, Your Honor.

4             THE COURT:    All right.    And you're very

5 welcome.

6            And, folks, its not at all unusual to ask for

7 polling so don't take any offense at that at all, but

8 we all know how you voted in the case now because it

9 was a unanimous verdict.

10           What you can't talk about with anybody is

11 basically the process that you went through to get to

12 that decision.

13            JUROR 2:   Right.

14            THE COURT:    You can talk about how you felt

15 about it personally if you started one way and ended up

16 going in a different direction, why you did that, what

17 you thought was compelling about it, but you can't talk

18 about the deliberations of the jury as a whole.

19            I know Mr. Shultz very well from a number of

20 years of him being here.       I just have met Ms.

21 Sidebotham and Mr. Goemann, but they're obviously very

22 honorable people who take their work very seriously and

23 I would encourage any of you who are willing to do so,

24 to stop and visit with them.

25           And, frankly, you'll have the opportunity to

              Jana L. McKinney, CSR, RPR, CRR, RMR
                   United States Court Reporter
 Case 6:11-cv-01098-JTM Document 258 Filed 06/06/16 Page 9 of 13




                                                                   719
1 ask them any questions that you would like to about why

2 they did a particular thing or why they didn't do

3 something.     And I am sure you have some questions after

4 having spent seven or so hours in deliberations, you

5 probably found some holes in the evidence that -- that

6 you would have liked to have known about or maybe there

7 were some things that you didn't quite know how to deal

8 with, and I am sure the lawyers would like to know

9 about that.

10            But, in any event, we're so grateful for the

11 time that you spent.      This case was very well tried on

12 both sides.    We don't have all that many trials any

13 more, and the ability to try a case well is something

14 that is becoming less common than what we would like.

15 And you got to see very, very fine lawyers at work here

16 doing the best work that they can representing their

17 clients, and they upheld the finest traditions of the

18 system, as did you.      Your work shows us why we have a

19 jury system, why it's so important to have a jury

20 system.

21            So with that, if you'll report back to the

22 jury room, your notes are going to be taken out of the

23 notebooks and they'll be shredded right after you

24 leave.    And, as I say, I would like to visit with you

25 for just a few minutes.      But thank you, again, for

              Jana L. McKinney, CSR, RPR, CRR, RMR
                   United States Court Reporter
Case 6:11-cv-01098-JTM Document 258 Filed 06/06/16 Page 10 of 13




                                                                   720
1 everything.

2            And with that, if you'll go back to the jury

3 room, I would appreciate it.

4            (Jury leaves the courtroom.)

5            THE COURT:    Have a seat, folks.

6            And, counsel, we'll give you -- we'll make

7 copies of the verdict form so you've got those for your

8 own files if you would like to have them.

9            Is there anything further that we need to take

10 up?

11           And, Mr. Goemann, I don't know what time you

12 have to leave to catch your flight?

13           MR. GOEMANN:     Thank you, Your Honor.      I

14 actually do have a little while and if the jurors want

15 to speak, I do have a few minutes, I'd love to be able

16 to have that opportunity.

17           THE COURT:    Well, I'll try to -- sometimes I

18 can be with them for 45 minutes and I'll try to

19 expedite that process here because, invariably, there

20 are questions and I try to give them all the

21 information that I can but we'll try and get them in

22 here.

23           Mr. Shultz, Ms. Sidebotham, anything?

24           MR. SHULTZ:    No, we have nothing that needs to

25 be taken up by the court.      And I think we would -- are

             Jana L. McKinney, CSR, RPR, CRR, RMR
                  United States Court Reporter
Case 6:11-cv-01098-JTM Document 258 Filed 06/06/16 Page 11 of 13




                                                                   721
1 probably available to talk with the jurors if they

2 want.

3              THE COURT:   Thank you very much.

4            Well, again, counsel, I appreciate everything

5 that you and your staff have done to allow us to get to

6 this point.     I thought it was an excellent trial and I

7 think that the jury very clearly took its work

8 seriously.

9            This is a case where a jury could have come

10 back in 15 minutes if it didn't take it seriously and,

11 obviously -- well, I don't know about you all, but I

12 was surprised at the amount of time and the questions

13 that we got -- or the question, I thought also was

14 interesting and if you want to go in to why they asked

15 that, you're certainly welcome to.

16             All right.   Well, counsel, again, thank you so

17 much.

18           We'll probably get the judgment put together

19 in this case in fairly short order.

20             Do either of you anticipate any post trial

21 briefing?

22           Mr. Goemann?

23             MR. GOEMANN:   No, Your Honor.

24             THE COURT:   Mr. Shultz?

25           Or, I'm sorry, Ms. Sidebotham.

             Jana L. McKinney, CSR, RPR, CRR, RMR
                  United States Court Reporter
Case 6:11-cv-01098-JTM Document 258 Filed 06/06/16 Page 12 of 13




                                                                   722
1            MR. SHULTZ:     Probably not, but we don't know.

2            THE COURT:     Okay.   Well, I'm not holding you

3 to anything, I'm just trying to get a handle on where

4 we might go next.

5            So, well, thank you all so much and we'll see

6 you back in here in a few minutes.

7            Ms. Hageman, are you going to notify our

8 journalist friend who was here yesterday and the day

9 before about the case?

10           MS. HAGEMAN:    She is with the same company.

11           THE COURT:     All right.

12           MS. HAGEMAN:    So we're good.

13           THE COURT:     Well, good.    Good.

14           Well, thank you all so much.       I appreciate it.

15 And we'll see you all shortly.        Thank you.

16           MR. GOEMANN:     Thank you, Your Honor.

17           (Proceedings conclude at 1:55 p.m.)

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             Jana L. McKinney, CSR, RPR, CRR, RMR
                  United States Court Reporter
Case 6:11-cv-01098-JTM Document 258 Filed 06/06/16 Page 13 of 13




                                                                   723
1                  C E R T I F I C A T E

2            I, Jana L. McKinney, United States Court

3 Reporter in and for the District of Kansas, do hereby

4 certify:

5            That the above and foregoing proceedings were

6 taken by me at said time and place in stenotype;

7            That thereafter said proceedings were

8 transcribed under my discretion and supervision by

9 means of transcription, and that the above and

10 foregoing constitutes a full, true and correct

11 transcript of requested proceedings;

12           That I am a disinterested person to the said

13 action.

14           IN WITNESS WHEREOF, I hereto set my hand on

15 this, the 6th day of June, 2016.

16

17                     s/ Jana L. McKinney
                       Jana L. McKinney, RPR, CRR, RMR
18                     United States Court Reporter
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             Jana L. McKinney, CSR, RPR, CRR, RMR
                  United States Court Reporter
